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                                                                          FILED
 1 SHAWN HALBERT (CSBN 179023)
   214 Duboce Avenue                                                        Mar 18 2021
 2
   San Francisco, California 94103
 3 Telephone: (415) 703-0993
                                                                      SUSANY. SOONG
   shawn@shawnhalbertlaw.com                                     CLERK, U.S. DISTRICT COURT
 4                                                            NORTHERN DISTRICT OF CALIFORNIA
   Attorney for Defendant Cinthia Rodriguez                            SAN FRANCISCO
 5

 6
                                      UNITED STATES DISTRICT COURT
 7
                                   NORTHERN DISTRICT OF CALIFORNIA
 8
                                          SAN FRANCISCO DIVISION
 9

10   UNITED STATES OF AMERICA                         )   CASE NOS. CR 19-711 CRB AND
                                                      )   CR 19-0343 CRB
11                                                    )
                                                      )   STIPULATION AND [PROPOSED] ORDER RE
12      v.                                            )   TEMPORARY RETURN OF PASSPORT TO
                                                      )   CINTHIA RODRIGUEZ
13                                                    )
                                                      )
14                                                    )
     CINTHIA RODRIGUEZ,
                                                      )
15                                                    )
             Defendant.
                                                      )
16                                                    )
17
             Counsel for defendant Cinthia Rodriguez and the government stipulate as follows:
18
             1. Ms. Rodriguez has been on pretrial release since December 24, 2019 and has complied with
19
                the conditions of her pretrial release since that time. Ms. Rodriguez is also on release from
20
                immigration custody.
21
             2. Ms. Rodriguez surrendered her Honduran passport to U.S. Pretrial Services as a condition of
22
                release in 2019.
23
             3. Ms. Rodriguez has requested use of her Honduran passport as identification in order to enroll
24
                her daughter in Oakland school and to obtain immigrant benefits.
25
             4. The United States and U.S. Pretrial Services have no objection to Ms. Rodriguez obtaining
26
                her Honduran passport from U.S. Pretrial Services for a temporary period during which she
27
                                                          1
28 Stipulation and [Proposed] Order
     CASE NOS. CR 19-711 AND CR 19-0343 CRB
              Case 3:19-cr-00343-CRB Document 67 Filed 03/18/21 Page 2 of 2




 1              can use it for the above-referenced purposes.

 2          5. The parties submit that the Court should order that Ms. Rodriguez shall receive her passport

 3              for a 10-day period, effective as soon as U.S. Pretrial Services can accommodate, and shall

 4              return it to Pretrial Services within 10 days of receiving it. If Ms. Rodriguez needs additional

 5              time, the parties can submit an additional stipulation.

 6
     IT IS SO STIPULATED.
 7
     Dated: March 18, 2021                                STEPHANIE M. HINDS
 8                                                        Acting United States Attorney
 9
                                                          /s/
10                                                        SAILAJA PAIDIPATY
                                                          Assistant United States Attorney
11
     Dated: March 18, 2021
12                                                        /s/   `                     _
                                                          SHAWN HALBERT
13                                                        Counsel for Cinthia Rodriguez
14

15                                           [PROPOSED] ORDER
16           For good cause shown, the Court HEREBY ORDERS that U.S. Pretrial Services shall provide
17 Ms. Rodriguez with her Honduran passport for a 10-day period, effective as soon as U.S. Pretrial

18 Services can accommodate, and shall return it to Pretrial Services within 10 days of receiving it.
19          IT IS SO ORDERED.
20
            March 18. 2021
21 DATED: _____________________                           ________________________________
                                                          HONORABLE THOMAS S. HIXSON
22                                                        United States Magistrate Judge

23

24

25

26

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                                                          2
28 Stipulation and [Proposed] Order
     CASE NOS. CR 19-711 AND CR 19-0343 CRB
